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September 11, 2023


The Honorable Ann Donnelly
United States District Judge


        RE: Douglass Mackey

Dear Judge Donnelly:

I am writing to ask you to sentence my son, Douglass Mackey, to probation.

Doug was in a dark place when he was participating in the online activities that led to his conviction. We
knew that he seemed unhappy, had become withdrawn from his family, and was spending an excessive
amount of time online. We were very concerned that he was suffering from depression and tried to get
him to seek counseling.

When Doug was exposed as “Ricky Vaughn,” my wife and I were appalled with some of what he had
posted and had a very hard time understanding what had happened. There were many sleepless nights
and soul searching about what had happened and why, and what role we may or may not have played in
him going down this path. With time, we came to understand the addictive power of the anonymous
on-line world for people with underlying depression, anxiety, and other mental health challenges.

I say this to help you understand that Doug is no longer in that dark place. Since he has undergone
intensive counseling, he seems at peace with himself and the world. He has worked with other young
people with similar experiences and to use his own journey to mentor them and help them. Most
importantly, however, Doug fell in love with and married a wonderful woman and they are expecting
their first child in November.

We noticed these changes in Doug after he was outed publicly in 2018 and long before his arrest in
2021. In other words, this was not something that happened post-arrest to convince people that he had
changed to help with his jury trial or to help him get a lighter sentence if convicted.

Doug is not the same person that he was seven years ago. I am confident that Doug is squarely on the
right path. He is an example to others about how to self-improve on one’s own. A sentence of
probation would encourage others to look inside themselves and improve completely on their own.

Thank you for considering these thoughts. Please sentence Doug to probation.



Sincerely,
Scott Mackey
